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|

a“ L
a | CARROLL TREMPIME #HI3384
7 KVS5P, RHU- |
PO. BOX S1OY =
DELANO, Ch 93216
|
| UNITED STRIES DISTRICT COURT
_ | DITMA COUT OF AUFO eM ‘
7 E fy mM

_ARROL TREMAINE , CASE NO.
| PLAINTIFF FIRST, FoultH, BIGHIH,

nest See FOULFEMH AMEMSMENT
SEAN DIDDY" COMBS, CICK, VIOLATIONS, V-5. 1983 cAVIL

- LKATRUZEN/ ALLISON, MARCUS RIGHTS CO¢MPIMATT, PETITION

a ___ POLLARD, MCSf_WARIEN, FOR PMALMINARY )UIUNCTIVE
MIKE PAUARES, GAVIA) RELIEF, FEMPORARY PESTIAILVING
NEWSOME, CCWF WARIEN ORDER, MONETARY DAMAGES
MADERA COUNTY ).A., JANE/ At LOMIME IT OF CovpséL ,

a (JOHN DOBG) 1-100, BT +, AL _
| DEFEM DPAIT (5) 04/01/24, 1200 URS.

PUTFE CARROLL, wHO'S * BLACK ADA CHEAIINE, MOBILITY,

visio IMPA\ Ne) .) TRANSWOMAN FALSELY /MP}ISUNED IN

THE CAUFORNI A SEPAITIMENT OF CORRUITIONS oN HER 2HY 7

YEAR_OF 25-T0- LIFE UNIER A 37 LAW FOR b Nok: VIOlEMT /
NON “SERIOUS RIDING CAMO THEFT CONIGION i wHlCH THE

PERSON (CORVAN COOPpRS WHO SHE'S ACCUSED OF MING COT

PROBATION AND NO JAIL TIMB-- PMNTIFES Two eMon STRMUIGS

MVE FOM ONE QUVENILE CONVICTION, CONTENDS THAT HER

CNIL RIGHIS WERE ViOLATED BY EFENDANTO) WIN DUALLY /
CUEING IN THEIR INDIV DUAL AND OFFICIAL CAPACITY)

LP UaNTTIre ELECTS TO NAVE ADDITIONAL DEFENDANTIS) RATHER
| £-C: 1258

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, % : ]
we SAAS

te a" "
ae 25} f

M AS "SOE" SEFON LOANTOS), INQLUI ING BUT
I 2 L-A- COUNTY JUVENI GE PROBATION DEPARTMENT
ah. SPT TR: FOSEPH GOETHAIS USCAL, THE TITER FIRM _

(COSEPH YING 1UL/0, HRUTOMEL DADE NBLSON HUNT), Aw
DE LA CRVZ, KVSP_ WARDEN , SeT. WATTERS, ‘To IMOAH , Jo BARRETT ,
LELIB_MIWER, MARC _LEWINSTEIL, $6T- BROWN. SéET- CONTPERRG,

of t26T HOMES, 5, y STOKES, CHIL (MOTBTIVG SERVICES , CTW

‘ WARDEN, SEP PNT OF OHI TEN A> FAMILY SPRVICES, JOUTUBE,

- ~~ Tpavywa, CBS; FOX , THE JUMPER, sH HASEROO 00M, R /REQDIT, ETC

FACTS
lin 1496, AFTER BEING RELEASED FIOM CAUFOPN | A youTH/
“AVTROMITY, HEMAN 6 -STARKS YOUTH TRAINING 9cHOOL PLAMTIFE

WAS INTRODUCHD TO BAD BOY cBO SEAN "DIDDY* ComBS _
|BY PUMINTIFES NBA ‘STAR @US/N CHRIS “JoE" AND HIS BEST
FMELD DEON "JOE" APTGR A PAYTY HOSTED BY ANOTHER
[MBA STAR PAUL "DOB" SEAN "$I DIY' COMBS NEEDED SECUNITY
UN THE L-A. ARGA AS THIS WAS THe HEIGHT OF THE GAST
| COAST / WEST OAST (TUPAC, B6EHB) WAR.
[PUMIMTIFF INTRODUCED EAN "3 IIDY" MBS, BISCLE SMMLS AAD
OTHER BAD BOY m&MEGRS TO HER_COVS/N ORIAKBO ANDERSON ,
\WHO WhS ASSAULTED BY TUPAC SHAIUR AND MEMBERS OF
| SEA NOW RECORDS, CLUDING TRAYVIOY! LANE WHO PLAN TTFR
LAAD PROVIDED PMOTECTON FOR I YOUTH AVTHORIT /-
LAGER, SEAN “DIDDY'COMBS INVITED PUINTIFF TO HANG _
loUT IN STVQlo UTY WHERG DEFEKOANT ComBS DRUGGED
MSD SEXVMLY ASSAVUITED PLAINTIFF.
PUNNTIFF CARIWLL HAD BEEN MOLESTERD BY HBL STEPMOM
EMI AGE 6-13 MD BY L-A- COUNTY TVVEMILG PMOBATION
_ |STRFF AT LS PAdpiNOs, SYLMAN, BASAL, Cam? NS
MINA 0M, AMP KILPATRICK AWD CYA ANd WAS

pC. 1258

_————

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TEMPTING To GET HER UF _7O0SETHER_AS He STATING

| POINT GUARD FOR GOLDEN wthT JYNIOR COUEGE _(N

__ WESTMIN SFR AUFOMNTA .

PURINTIFES “RAPE JDDUIMA SYNDNOIUE” wAS TRIGGERED wiTH NO

_\ ONE TO TURN TO ANS NO ONE To TRUST -

IN DBCEMM EGIL OF 1996 PUMIKTIFF WAS FALSELY APES TED FOR

ROBBERY THAT DEFENDANT ComBS HIBED An ATIONMEY TO CET

DISMISSED; HoweVER, PLAINTHE WAS RETURNED 7D cusTODY

WHERE sHE UAPNGD cacre Wh NOT oNLY FALSELY

IABGLING HER A StX OFFENDEIL BUT FALSELY cL MMING

__ THAT ov OF THE TWO AUEGE? VICTIMS IN) re TWO

STL OSE WKS A MIVOR,50 FREY USED HER WITH

A _VEIND PAD VAC VIOUS pT AGHINS, A MINOR - PLMN TIF

WAS THE ONLY MINOR VOLVED - PLATED SUF PEM

PHYSICAL SteXVAL ABUSE fF NOM STAFF AND INMATES 0S A

RUT OF THESE FAISh "R” LABELS -

TEAL LAGER PP UAUTIF wAS RECEASED APIEIL GETTING

NO TMEAIMENT FROM cock.

IN AUGUST 1998 PLAATIFE WAS AMM6S7E3 FOR ROBBERY

UN WHICH sBanl "DIDDY" COMBS PROVED THE waMey

FOR BAIL KEREIL BEING COACHED BY PUK/TIFFS

cousin -

REASON. WHILE IN L-A. COUMIY DAL, coRRUPT_

VETUTIGS FAtsBlyY CHARGED PUAINTIFF WITH pots oS (0A/

OF A wEAP OM MATER _UEAANING (UINTIFE Wt ABELED

A CHILD MOLESTEL .

“ PUNT WAS FOUND 6ullT? OF AIDING CPN dD THEFT

oN 4-10-98, PUMATIPS BAIL WAS pevoled FoLWO

pILOfeRty aNd was 96RD JO 25-JO- UFE

AFTER SENTENCING JUDGE USED FALSE sBYVAC

AUBEATIOMS TAD PRUMNTIFE WAS Fai MOT GUILTY
| f-c.JZS8

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, wa
oF TO DtTERMIMT SORTIENG ME AND_PINNTIFFS
ATTORNEY (FEUSED TO BME UP CHILa HOOD
NTA MA PUA TIF Sr Fee EGA pp URKTIFR
1s \WAS LABELED CHILD MOLESTER:

LOU MTT GNTEPED cyrCh IN d6CEMBEK (794
FALSELY LABBIZD A CHILD MO LESTER /AX OFFEIQEIL
|WITH PN "R” sUPFIX “AND THIS GUS PUINNTIFE
TO BE SUBUKAA FO VATOLD PHYSIC, SEKUAL ,

0 Sy GtOLO6ICAL ABUSE BY STAFF AUD IMMATES MESVUTING
LM FALSIHED RYR'G, SERIAL OF PROSPATOM IVE,
lop PORKTVMITES, UNEQUAL pLOTECHON, VMEQVAL TREAT -
a ae MENT, BIT 4
iN 20(8-19) PLAINTIFF HAD TO AUOW DR.cLAYBAVGH]

AT SALINAS VAUUBY STATE PRISON TO RAPE HET IU
ae ORDER TO STAT «GUDER OYSIHONA TRCATMENT MLb

_ THANSITION TO WOMANHOOD DOCUMENTATION ._
\LAPER AT RICHARD J. DONOVAN IW SAM D/ECO,
|PLAINTIFE WAS spyvALY ABUSED BY S6T- 6Ob/NEZ AND
DR-CALDENON. THEN, WHILE HOUSED IW ROD ASU
SOLTTARY CONFIWGMENT, PLAINTIFF WAS LEFT HANDY FFE ©
1 HER WHEELCHAIN FOR (3) DAYS. THIS LEAD TO
MULTE LAWSUITS AND PUNTIFF BECAMING 1M FS
IWUMBCIL ONG IN ARMORONE Ve MEWSOME THAT GOT
[BODY AMENAS IM PLIMENTED IN CLK ANI DISM (CT
\OUIT. JudGB_ CLAD /A WiLIGNS 70 GANT ROSTRBAIMING
ORSER ACAINS) COO fo fp LMNTIFE.
[RID STAT To sAN CHEZ , “lo RUCKEIL AND OTHENS Fats eD
[RVR'S AND HAD PIAIVTIFE BUSTEY IN THE HEAD wh A
BOULDER THAT SHOVLINT AVE BEEN ON ANY PRUON YARD.
PUMATIFE wAS ACAI FALSELY /MIRISOME IN SOLITARY
CONFINEMENT WHEN RID H ae AUTHORITY AP EIMOAG-HED
fC Ves g

a

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\
’

PUMNTIEF WITH A CELLPHOME AMD PHONE NUMBER - _
PANTIE AUED THE NUMBER AND IT Wks SEAN ‘21 DDY"
COMBS TEUING MAINTIFF "MARCUS pouAKD 15 FamILyY.
UAE SOUTALY ONFNEMENT pd ITS AL 600D <" =a 5
DEFENIMNT POUARD JOD PLAINTIFF THEY NEGIEY ME

7 6O BAUL JO A-FACLIT! WITH SuCe FAMIGHT AUD

CET ML THE IN FORMAVION | COULD UN THE MURDER OF

TU PAC SHAKUR VD HAD A “RELATIONSHIP WITH sUéB KNIGHT.

MID WROTE A_SONG FOR A bOCUUPMTARY THAT NICK ANNO

WAS SUPPOSED TO BE doe -

WHEN 1 6OT BAC of) A-FACIUITY, | WAS COMJACHBD BY
DEFEMDANT COMBS Of THE SAME _CBUPHONE - DEFENDANT

ComBS TOL) ME APTER 1 GOT ML THE INFO covidovl
gm (OF sU6E KNIGHT HE NEEDED me 70 FIND SOMEBODY TO

KILL SU6E KNIGHT AAD Hie WOULD PAY Us Bolt] 4100/000 -
BGFORE WWN6 THE TRO WAS l3SURD AND | WAS MOVED

[TO mele FoR my SAFETY sD TO MONITOR RETALIATION
AGKMST me BECAUSE THAT wAS THE only FAMUTY WITH
OVBIL-lLAPP INC GAMERAS- -
WHE AT McIC 1 HAD SEVERAL CONVERSATIONS WITH

DEFRUDINT COMBS WHO INSsUmBD ME HE WAS WORKING
ON GETTING MB FBG AS | INSUPED HIM ONG OF My

PORE WOULD TAKE ARG of SUGE KNIGHT AFTER

HE WENT TO BOARD.
IN JANUARY 202] SBI3ZS2 WhS BVACIBD BY CovEnwok pees
CAVIN NEWSOME. DEFENDANT COMBS ASKED MG IF]
LWEKNTED 0 GOT) wOMENS PMSON. | Jol) Hit THEY

WOVLDNT DO IT BPRAVSE (MM TAUSELY LABELED & SEX

OFFENDER With # LEWD /\ACL IOVS AC AOMNST A _miVOR -

ft >

DEFENIANT ComBS TOLD ME He WAS _PLVEGED IW WITH

LATHUPE ALLISON SQ HE WOUL) MAKE THAT HAPPEN

p.c-(2S8

ok:

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WA

Fol me BUT |} VLR VMEVER SPEAIC ON WHAT HE

21D T) ME ANP) HAS TO MAKE THAT HAPPEA WOH

SU6B KNIGHT. | WD Him iT wAS Coop.

A FeW MONTHS UTE | Had A VIDEO chu WITH

KATHLEEN ALLISON AND mCIC WARDEN: KATH UEBK

MLISON SMD TREY wall) FE APPROVING [ny TKAWSFEL

TO WOMENS PRIGON INSPITE OF THE "R" suFEIX _

BASE? _ON OUR MUTVAL FIEND “Nd SHE Knows (M

TRAN SGENIE BECAUSE SHE spol WITH DR-CLAY BAUGH

WHO RAMMED mt AT sVSF, BUT | wovld oWe HER

A FAVOR.

AVG6UST 26,202/ | WAS TPANSFERED TO WOMEUS PRISON,

CENTIAL CALIFORNIA WOMENS FAULITY IN CHOWCHILLA,

CALIFORNIA . THE FIRST THING | NOTICED VP ON ARRIVING ~

IN [ECEPTION BUILDING S03 WAS THAT FHETUS

ws
WEN NO CONDOM JISPENSERS IN THE dDAYooM LIKE

THERG Abe _iN EVER? MENS FACULTY. | FILLED A

DISCUMINATION GR LEVANGE THAT NIGHT AND FILED

AT LEAST (20) MORE _ovel THE TWO AD A HAE

YEARS | WAS THERE.

tN LAPB 202) /FHLLY 2021, ACTING WARDEN Wri _

PAUANES cAUED Me 70 THE BPH 00M Add FORGED

ME TO PERFORM oRAL SEX ON Hite IN EXCHANGE

FOR tim NUT SENDING Me BACK JO meNS PRISON.

UN BRILNOWN TO ME, MIG PAULAHES HAD EGE

CHARGED WITH RAVING 6 FEMAE STAFE eM BEIL ON

COWF GROUNDS AND SB vAUY ASSAUCTING THE wARDEL

WHO WAT BEFORE HIM AND WHEA/ SHE OMPAMNED

IHE 607 Heft HMED *N) TOOK HER JOB - eens

MONTHS lATER OFFIGR CLE (LOvileved Fok Ep New

JO PERFORM OAL 9X ON H'it_IN THE SAME

p-C: 1298

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BPH POOM UNSER THE SAME THEEAT oF 7EANDING

ME Bade TO MENS PRION

ATER _fILIN6 CIVIL SUIT ON THIS ON BETA OF

my SEE PND UATTOHA BROWN, WE WER IABP VenBD

BY AFR INEY COB EIT CHM FART. pAYS LATE WG wee
ip BOTH THROWN JN SOLUTARY CONFINEMENT wITh COW

CLAIMING LATASHA BMOWN WAS PREENINT BY mE

WITH TWINS AWD | Aleka THE BABES OUT OF HER

AD WE HA) Some RITVAUISTIC BUR/AL FOR THEM

ON THE YARD THAT HAD THE /NUESTICANVE SEP VICES

UNIT DICCING Uk THE YARD LIE COOFERS .
nm THE FollowithG ghy wh WERG INFEIVIEWED BY %T- Bow \)
PEEARDING OUR PELORTING OF BEING SHLUALY AiSAU CED
~ BY MIKE PAUARES , GREE LOR SUEZ, S6T-CONTTELYS AND
a THES WITH NEHER OF US KNOWING THT SET- BOW)

HAD SEXVMLY ABUSED AT LEAST (20) iN CALLCELR ATED

WOMEN RIMIELE AND WKS COLEETING [NFORMAT YN T®

CovVER-vS Fo Yin sete AND OTHER STAPE.

THE NEXT DAY _LATASHIA BROWN WAS MOVED TO CTW)
seals UNDER THE eulst THAT SHE WAS" RE PREGNANT | wiTH
TWINS AETHOUGH LATASHA BROW) CANT GED PREGVANT

BUT KS A MENTAL HEATH CONDITION THAT CAUSES HER

MIND, BoRY AND SOUL T? MIMIC PMENANCEES - THIS

CVE OUT IN HER TUM WHERE SHE WU ROBPED A

WOMAN , BUIWED HER Bopy, Toole +710 IN FANT Son

_ DNS RAISED HINA AS HER OWN FOR (8) YEARS -

WHI IN sOUTARY CONFINEMENT LT. RODD GJEZ AND

=a UT MAM IRGS PUD ME OVT To THI TO Ue IN A

casousiiilll PAE SETIING APTER My 6MEVANCES GOT MINE
sneer, ‘PPUARES (EMOVED PS THE _WARYEN THEY Joly me
THEY WHte AWA OF my FEN DSHIP WITH IN Mare
R-c- 1.258

[SCANDAL AnD LAW SutT !

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AS

| JOHNETTA® ROSS WHO'D BEEN TRMEFICKE AMONGST
IWAN cCUF STAFE, MOST NOTABLY SCT. BROWN. THEY
(TOLD we | HAD FRGENIS IN HIGH PLACES, INCLUDING
OAHU ML ISON THAT WaT ME 70 GET CLOSER

TO ‘yr ROSS. | THOUGHT I(T Wks BECAUSE WE thd

BOTH BEER ViCiMS Wifo\2 WME FOhwARy |

WHAT HAD BECOME THE “ccWr STACE sexum ABUSE

LL WAS RELEASED FLO SOLITARY CONFINGMERT IN
[MAY 2023 PND MAINTAINED COMMUNICATION WITH

[tm ROSS WHO WAS STIL IN ASU. A FEW wWEEES
LATEIL UM I Pes ct 70 TAUL TO MG ON THE
YARD. He TULD Me ICTHIGEN MLISON WAS CHLING

IN BP FANOR Ad Ub HAVE A MUTVAC FREBND. THEY

{WKN Fiav Me TO GET Vn ho5S PREENANT To HELP
|END SBIZ2 so THEY Could co KCFER GANIN NEWSOME pHd
THEY> HELI Me AN > 'Ay 09S Gel HEE AND take
\CM OF US IND THE BABY.1 TOOK THID MSA DIED
OPOREE AOM THE HIGHEFT RANICNG WU RAL OF < DU -

LL TOLD Cf PRWIREZ | WAS PERMANENT WHEBLOHAL Ie
AND WOULQNT BE ABLE 7O mole ovT OF SOS AND

"am ROSS WRS GOING BAC To c-FAULITY: HE Tolo

Me THEY wOdlD move '/m ROOS To B-FACIVLY AND

[20 WHAL WkS ASKED OF ME.
KBOUT A MONTH LATER ‘1m ROOD WAS MEUENSED To

LFACLYY 6 SO4-Z5-\ TAUKGD 70 “ BRUPFET ABOUT _

ADVING. NEE “10 SOF-2S5. HE Told) mE | EWEN THe
Pee, bd P LAVLO OUSLY PAID ‘fo BRV ETE! %5;000 EACH

TIME ID MVe im PENNGEWHL KD Ym BROWN IN

HE OOM WHR ME AS | WASNT ALLOWED ANY Y

OOMMALES: 1 pal) “lo BMUPEET THE 95000 Likes BEFORS
_ P-C. 1298

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~

“BUTHOUCH U2 FLU MVP CLEVANGCES ON THIS

“WHOLE StTUMTIUN BECAUSE [T WAS SCARING ME-
AY WHO Mp (CAL FILE WAS MENIPULAPED AND
ROCHOMED TO MINE ME Fildm 905-24 To 507-25

With '/m ROSS. | WENT FROM PETUMET wteBLCHM RU /

OBLUEY lM PAtte> TO NO MOBILITY bEviceS NOR

LROCUMENTATLON ALTHOUGH | WIS ALLOWED TO eet

MY, WHEELCHAIR eee
IN ShITEMEGR OF 2023, CRT- SEAGER SET BROWN,

SET CONTREAS AND WANBEN DE UA ChUZ STATED AN

INVESTIGATION ON '/tm ROSS BEING PREGNANT BY me

BUT IDNT SEP VS. SCT BROWN, SET CONTRERAS

PND KW DE LA ChU2 Ae DEEENDINTS WW SEYVAL ABU 56
mw LAWSUITS TE WHICH EM ROSS MID | AE PLALNTIPES -

ee THIS TIMB IUTHUGEN RLLISON HAD DISAPPERED IN
2 PISGMACE For HER Mle IN THE crcr forced

“STEIULIZATION SCOMNDAL -

AT THIS TIME (SD BEBN ON MEQ ICONS THAT HILED
MY _KBILITY To GET AN BRECTION OR To phodvce
SPetM COUS FOR OVER (6) YEARS.

iN MID TANVARY ‘my RODS WAS PUCED IN SOLITARY

ONEINEMENT TOR Tre PLUECITION 9 FOR ASSAULTING
____WE.

“DAYS (ATER CPT SEAGER SCT- BLOWN AND SCT: CoUTREIrS

PHONG WITH ‘lm STITH AND "im AW REL START! CHLY
HAY BENET PLACED IN TRE ROOM WITH ME WITHIN
DAYS SHS SEXVMLY ASSAUCTED ME AND CURIMED |

__SEXVMIYN POSPUGED HER- WE BOTH mAb THE Sime
LCAMMS, BUT WAS CHARGED, SHE WASNT. THE
LD IFRERENGG BETMEEN US IS Im BiACK AND Wis BoRY
MEE WHI ste S WHITE ae WAS BORN FEMALE.
| P-C- 12S

)

Ca

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re Be 7A

| SABELL PENNET /SEFERDANT BEWNET 15 Flam SAA) > 1860

COUNTY WHERE SHE sccUse> MUCTTP UE MEN OF RAB: IK -

CLUDING HER t-BOYFPIGAD wHU SHES INPRIGRATED FOR a

" | STAUUNG JETER He LEFT HE Fok A SA DIEGO CouNTM |

DISTRICT. PFTORNEY.

SE7- BROWN AND SET - CONTBGIUS were: THE INVEST ICATO RS

OF THE as Mm ORIG) SAN CRIMIWAK MOT Jo CoUECT_

ANY GVIDE NGS FROM “ML THE PACES” "/m BERET LIVED,

SUCIGRD, TOUBED ON MB. COUF AND SAT “SH THEE

wie wd SHCMS OF RAPE WOR GVM SEH BEAU MY

PENIS NEVER ENTERED HER - THERE _whS NO ENIDENE

OF AEXTHING , JUST {HER WORD OVEP MIME -

DETENSANT CHCILIA WILLIAMS SAl>_| SATO HER IN

50F-2S' PN2_ SERVHLY KSAUITED HER, FIUNC p
Faltg (0oUlce PERO whbw AVSS SHOE Sue WY

EMP hep my Mom, ovT- OF -BovNIS 0 HER OWM, INE

CHALICE? HET STONY WHEL BEING THREREVE) wlTH

FILING A FALSG POLICE LEPokT AMI BEING OUT-OF -

BOUNDS. SHE DIDAT RECEIVE RVR FOL ETTHEL -

SéT BhowN ANY SET. CONTIGINS WERG THE u/VveTT —

CATO DS Of THE AME - ee we

ON VSS, | WKS ASSAULTED ONCE BY FORMER OFECEL

TD. HEYNES, ONCE BY ’/y BROWN, THRGG Tl Mer FY

lps FERRER, TWICE BY '/m FIELBS ONCE BY '/m STIIP ,

Okc CFAISELY ee Yr ROSS. TRE ONLY OME WHO

HAD _ALSAULT CHARGES F(LED AGCMAAT 71H WAS

Tie ROSS Mlb ML OF THESE INCIDENTS ALE 20CWMENED

ALD CAPTV RED ON AVSS.

SEFENDAKT > TOSEPH VINGIUL/0 | CHRISTOPHER DARIEN,

NELSON HUNT AND THE JUSTICE FIRM WODB” eed

SUPPOSED JO LEP MENT '/m_ (L075, MISO EF AND FEVETAL

Cc. 1284

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}

OTMER COWE SEXUM DUS VICTIMS BUT THEY STOPPED _

COMMUNICATING WITH CLIENTS, STULE my UNPUBL 544

Book #BOUT bEFENDANT CONES AND MY GAPERIENES

AT COUF ply sue my 1402 FILING Fe For CSE

NUMBER |: 23-cv- 009UFY4-NODT .

|PEFENDANT(S) JOSEPH 6 OBIT LOCAL TOLD ‘1M R045

pHs L THE JDVSTICE FIRM SOLD YUN CASES Th (ARGER

FILMS , USING UNETHICAL. TRICE Y 70 GET US To.
SIEM SUBSTITUTION OF ATTORNEY ACKEEVENTS. UL OF
THIS 15 Oh PECORIED CALLS pA EMAILS. JOSEPH COBTMAS

Told PESENTENCHE sTTOINEYS HE'D HAADLUNG MY

CUM (MAL OSB (RO BONO whl TEULING Me _HE'S

TAKING 11 of CONTINGENCY pLAN TUT Con OT

—_-a—

OF THE CVIL CASE.

ON 02/13/24, '/mr ROSS TEFFED POSITIVE Fok nee NANCY

A was Tha FERRED TO ctW with (3) 2DowmenTer

ENEMIES WHEE SHE WAS FASELY iv PRIOMED IN THE

PSICHIATLIC IN PATIERT PROGIUM ACHNST HER WIL, withoul

[HEN CONSERT ANP DOCUMENTS SHOWIVS St REFUED

meT HELGH HOUSING PWD TEAMENT.

(OW 06/22/24, Vm R055 CAVE BIH TW) HE SOM

AMAZING GIET 05S) WHO WAS MMED/ATELY DNA

[SW MBBED PE A WAP RANT 195vED £Y wade COUNTY

UNDER mY OSE WUMBER MIHOUCH | WAST BEING

UN VESTICATED FO A HIME AGING '/m R099.

WITH \ATHIGER_ MLISON OUT OF The why) HAD NO

(PMOTEITON..ON 04/18/24, 1 HAD A DRE HEMING IN

WHICH | WASWT ABLE 0 PRGBENT 4 DEFENSE. on oY/I9/2y ,

WAS THE VICI _0F UNNMECETSAAY EXCESS IVE JSG OF

Pa WHEN | whS ER UTA ZED BY ccuF STAPF wtto

{ML DM AE fe? lub pA Hach i To KVSP, TNE WolesT~
| L258

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>
7NA

PALM IN Coen - /
| ON 04/20/24, uA OUT=]0-MBDICOAL, Yo ke YES GND

\¢/o MAUL SEXUALLY ASSAULTED mE AT SUNPOINT WUE
\LCPEMLY DIOKB LIA C THEI FODY-CAMETMS- 1 HAP
SEl2UMG AFTER EAU ING OVT OF WHEELICHPIR whGn/
[THEY Fated TO PROMERLY SECUMG We ON STHE
lyeHicler. oe
——___| # THE Seis SD vEHICE THAT ND EU pees

WAS coKleyea FIOM PER PREA policy, -wAS

SEAUMLY PSSAULIBD AT CUM PONT BY lo FSIMADA AND

IS MOheN (-

PEREIAL Pp ftp POLICY WAS ViWATEY IN AL OF THESE

INSTANCES PS WETHER GD/ME SCENE WAS SEURER,

\EVIJENG GUARD NOL SefEMA ON oF AccusED

[FW PLCVSERS - Y

oN 0F/ 22/24) why _OVvT-TO- Count, cc WE STIFF

ne ME BOTTVE OF ALCOHOL (Volt) IN WATER

EMD? DATE IAPE DRUSS, TRYING 7o_ kill ME.

ly "ebieien OUT AND DONT KOK WAT HAP PEMBD -

i 70 ME WHILE /N THE cYST°DY of 567 - WATTERS,
1% Mot, lo BAMETT BUT BORY-Crnttir od 3N5} -

CAMS FHoOVLVS APTVIED ML oF THIS.

|ML OF THEFE THINCS AKG _DOWNMENTEO BUT wT 90

\VRNY DEFENDANTS AND EVENTS. APPOINTMENT OF

COUNSEL 15 WALIANTED: FUINTIFE SEEKS MONETTLY
\DAMAGES IN THE AMOUNT. DETERAUMES EY A _DVVGE oR

v_|TURY» AND FEMFORALY MASTIMINING OREED FLOM CDCL -

—s THE ABOVE _1S TUE TO m/ oWieDER:

+ emer

pC1258
MDesdendegtadteetygete ty freee pee tty fot Efe gath
Zl00b wo4d-4
39 WO0A” Aono hing? of
Maar ZHL do A)440
tune bialsid $f

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